                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                 )
In re:                                                           )    Chapter 11
                                                                 )
RIVERBED TECHNOLOGY, INC., et al.,1                              )    Case No. 21-11503 (CTG)
                                                                 )
                          Reorganized Debtors.                   )    (Jointly Administered)
                                                                 )
                                                                 )    Re: Docket No. 249


                   CERTIFICATION OF COUNSEL REGARDING
             REORGANIZED DEBTORS’ MOTION FOR ENTRY OF A
        FINAL DECREE CLOSING THE CHAPTER 11 CASES PURSUANT TO
    SECTION 350(a) OF THE BANKRUPTCY CODE AND BANKRUPTCY RULE 3022

         The undersigned counsel for the above-captioned reorganized debtors (collectively,

the “Reorganized Debtors” and before the Effective Date2 of the Plan, the “Debtors”) hereby

certifies that:

         1.       On March 15, 2022, the Reorganized Debtors filed the Reorganized Debtors’

Motion for Entry of a Final Decree Closing the Chapter 11 Cases Pursuant to Section 350(a) of

the Bankruptcy Code and Bankruptcy Rule 3022 [Docket No. 249] (the “Motion”).

         2.       Pursuant to the Notice of Reorganized Debtors’ Motion for Entry of a Final

Decree Closing the Chapter 11 Cases Pursuant to Section 350(a) of the Bankruptcy Code and

Bankruptcy Rule 3022 [Docket No. 253], objections to the relief requested in the Motion were

due by March 23, 2022 at 4:00 p.m. prevailing Eastern Time.




1
    The reorganized debtors in these chapter 11 cases, along with the last four digits of each reorganized debtor’s
    federal tax identification number, are: Riverbed Technology, Inc. (8754); Aternity LLC (8754); Riverbed
    Holdings, Inc. (6675); and Riverbed Parent, Inc. (2610). The location of the reorganized debtors’ service
    address in these chapter 11 cases is: 680 Folsom Street, San Francisco, CA 94107.

2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Amended
    Joint Prepackaged Chapter 11 Plan of Reorganization of Riverbed Technology, Inc. and Its Debtor Affiliates
    [Docket No. 144] (as amended, supplemented, or otherwise modified from time to time, the “Plan”).
       3.      The Reorganized Debtors received informal comments from the Office of the

United States Trustee.

       4.      Attached hereto as Exhibit A is a revised proposed form of order (the “Proposed

Order”) which incorporates language that resolves the informal comments received.

       5.      A blacklined copy of the Proposed Order is attached hereto as Exhibit B showing

changes made from the form of order attached to the Motion.

       6.      Accordingly, the Reorganized Debtors respectfully request entry of the Proposed

Order at the Court’s earliest convenience.



                          [Remainder of page intentionally left blank]




                                             2
Dated: March 28, 2022   /s/ Timothy P. Cairns
Wilmington, Delaware    Laura Davis Jones (DE Bar No. 2436)
                        Timothy P. Cairns (DE Bar No. 4228)
                        PACHULSKI STANG ZIEHL & JONES LLP
                        919 North Market Street, 17th Floor
                        P.O. Box 8705
                        Wilmington, Delaware 19801
                        Telephone:     (302) 652-4100
                        Facsimile:     (302) 652-4400
                        Email:         ljones@pszjlaw.com
                                       tcairns@pszjlaw.com
                        -and-

                        Patrick J. Nash, Jr., P.C. (admitted pro hac vice)
                        Christopher S. Koenig (admitted pro hac vice)
                        KIRKLAND & ELLIS LLP
                        KIRKLAND & ELLIS INTERNATIONAL LLP
                        300 North LaSalle Street
                        Chicago, Illinois 60654
                        Telephone: (312) 862-2000
                        Facsimile:     (312) 862-2200
                        Email:         patrick.nash@kirkland.com
                                       chris.koenig@kirkland.com

                        -and-

                        Christine A. Okike, P.C. (admitted pro hac vice)
                        KIRKLAND & ELLIS LLP
                        KIRKLAND & ELLIS INTERNATIONAL LLP
                        601 Lexington Avenue
                        New York, New York 10022
                        Telephone:    (212) 446-4800
                        Facsimile:    (212) 446-4900
                        Email:        christine.okike@kirkland.com

                        Co-Counsel for the Reorganized Debtors




                                 3
